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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:
                                                             Chapter 11
Lordstown Motors Corp., et al.,1                             Case No. 23-10831 (MFW)
                                                             Jointly Administered
                          Debtors.
                                                             Hearing Date: Oct. 31, 2023 at 10:30 a.m. (EDT)
                                                             Re: D.I. 361, 467, 624, 625, 635, 637




             LEAD PLAINTIFF’S SUPPLEMENTAL LIMITED
      OBJECTION AND RESERVATION OF RIGHTS TO THE DEBTORS’
MODIFIED AMENDED DISCLOSURE STATEMENT AND SOLICITATION MOTION

         George Troicky (“Lead Plaintiff”), the court-appointed lead plaintiff in the securities

class action captioned In re Lordstown Motors Corp. Securities Litigation, Case No. 4:21-cv-

00616 (DAR) (the “Securities Litigation”), pending in the United States District Court for the

Northern District of Ohio (the “District Court”), alleging violations of Sections 10(b), 14(a),

20(a), and 20A of the Securities Exchange Act of 1934 and SEC Rule 10b-5 promulgated

thereunder, for himself and on behalf of the putative class that he represents in the Securities

Litigation (the “Class”), hereby submits this supplemental limited objection and reservation of

rights (the “Objection”) to the motion [D.I. 467] (the “Solicitation Motion”) of the debtors in

possession (the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11 Cases”) for

approval of their proposed (i) Disclosure Statement Pursuant to 11 U.S.C. § 1125 with Respect to

Modified First Amended Joint Chapter 11 Plan of Lordstown Motors Corp. and Its Affiliated

Debtors [D.I. 625] (the “Modified Amended Disclosure Statement”) for the Modified First

Amended Joint Chapter 11 Plan of Lordstown Motors Corp. and Its Affiliated Debtors [D.I. 624]



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    The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
    Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
    address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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(the “Modified Amended Plan”) and (ii) procedures for soliciting votes on the Plan (the

“Solicitation Procedures”).       As and for this Objection, Lead Plaintiff respectfully states as

follows:

                                        LIMITED OBJECTION2

       1.       The Modified Amended Plan and Modified Amended Disclosure Statement,

although curing some of the defects raised by Lead Plaintiff in the Disclosure Statement

Objection, raise a host of new issues that make the Modified Amended Plan unconfirmable.

       2.       Nonetheless, Lead Plaintiff consulted with the Debtors to resolve certain purely

disclosure-related issues concerning the Modified Amended Disclosure Statement, subject to the

Court’s approval. Specifically, the Debtors have agreed to add additional disclosures relating to:

               The proposed treatment of holders of Class 7 Common Stock
                Interests, compared to the proposed treatment of holders of Class 8
                Section 510(b) Claims;
               The contingent nature of the proposed Ohio Securities Class
                Action Payment by the Debtors to the holders of Class 10 Ohio
                Securities Class Action Claims, even if Lead Plaintiff provides
                written notice of the Class 10 Election; and
               The risks to creditors and interest holders in the event that the SEC
                asserts a claim by the governmental bar date and successfully
                challenges the dischargeability of certain debts pursuant to
                Bankruptcy Code § 1141(d)(6).


       3.       Lead Plaintiff believes that based upon such agreements, the disclosures with

respect to the above-referenced matters will be incorporated into the Modified Amended

Disclosure Statement.        However, even if the Debtors incorporate the above additional

disclosures, and they are approved by the Court, Lead Plaintiff has serious issues with the




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    Background regarding Lead Plaintiff, the Class, and the Securities Litigation is set forth in Lead Plaintiff’s
    Objection to the Debtors’ Disclosure Statement and Disclosure Statement Motion [D.I. 525] (the “Disclosure
    Statement Objection”).



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Modified Amended Plan and maintains that it cannot be confirmed unless other fundamental

changes are made or a global agreement between Lead Plaintiff and the Debtors is reached.

       4.      Lead Plaintiff expressly reserves the right and intends to raise any and all of his

objections and issues at the confirmation hearing, if not resolved in advance, and does not waive

any such objections by virtue of agreeing to the additional disclosures.

                                 RESERVATION OF RIGHTS

       5.      Neither the filing of this Objection nor anything contained herein are intended to

limit, prejudice, or otherwise impact any rights of Lead Plaintiff or the Class in connection with

confirmation of the Modified Amended Plan (or any other plan) or approval of the Modified

Amended Disclosure Statement and the Solicitation Procedures. Lead Plaintiff, on behalf of

himself and the Class, hereby reserves all such rights.

       For the avoidance of doubt, this Objection does not, shall not, and shall not be deemed to:

      constitute a submission by Lead Plaintiff, either individually or for the Class or any
       member thereof, to the jurisdiction of the Bankruptcy Court;

      constitute consent by Lead Plaintiff, either individually or for the Class or any member
       thereof, to entry by the Bankruptcy Court of any final order in any non-core proceeding,
       which consent is hereby withheld unless, and solely to the extent, expressly granted
       in the future with respect to a specific matter; or

      waive any substantive or procedural rights of Lead Plaintiff or the Class or any member
       thereof, including but not limited to (a) the right to challenge the constitutional authority
       of the Bankruptcy Court to enter a final order or judgment on any matter, (b) the right to
       have final orders in non-core matters entered only after de novo review by a District
       Court judge, (c) the right to trial by jury in any proceedings so triable herein, in the
       Chapter 11 Cases, including all adversary proceedings and other related cases and
       proceedings (collectively, “Related Proceedings”), in the Securities Litigation, or in any
       other case, controversy, or proceeding related to or arising from the Debtors, their chapter
       11 cases, any Related Proceedings, or the Securities Litigation, (d) the right to have the
       reference withdrawn by a United States District Court in any matter subject to mandatory
       or discretionary withdrawal, or (e) all other rights, claims, actions, arguments,
       counterarguments, defenses, setoffs, or recoupments to which Lead Plaintiff or the Class
       or any member thereof are or may be entitled under agreements, at law, in equity, or
       otherwise, all of which rights, claims, actions, arguments, counterarguments, defenses,
       setoffs, and recoupments are expressly reserved.



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       For the avoidance of doubt, Lead Plaintiff, on behalf of himself and the Class and

the members thereof, does not consent, and expressly objects, to (a) the Third Party

Release and Injunction and (b) this Court’s entry of any final order or judgment without

jurisdiction or statutory and/or constitutional adjudicatory authority to enter such

judgment or order without the affirmative and knowing consent of all parties affected

thereby. Lead Plaintiff, on behalf of himself and the Class and the members thereof,

further reserves all rights to object to confirmation of the Plan, or any other plan proposed

in the Chapter 11 Cases, on any basis. Moreover, Lead Plaintiff reserves his right to file a

motion pursuant to Bankruptcy Rule 7023 so as to have Fed. R. Civ. Pro. 23 apply to his

class proof of claim for all purposes and intends to file such motion in the coming days.

                                  [ signature page follows ]




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Dated: October 31, 2023         CROSS & SIMON, LLC
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